 Case 1:20-cr-10052-STA Document 223 Filed 10/26/20 Page 1 of 2                    PageID 381

                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                         Case No. 1:20-cr-10052-STA

Jessica Vestal

                              ORDER OF DETENTION PENDING TRIAL

                                             FINDINGS

          In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has

been held. The following facts and circumstances require the defendant to be detained

pending trial.


       ✔ The  defendant makes no application for release at this time. A motion for conditions
         of release and a detention hearing may be filed at a later date; OR


          No condition or combination of conditions of release will reasonably assure the
          appearance of the defendant as required.

          No condition or combination of conditions of release will reasonably assure the safety
          of any other person and the community.


          No condition or combination of conditions of release will reasonably assure the
          appearance of the defendant as required or the safety of any other person and the
          community.


           This conclusion is based on the findings and analysis of the matters enumerated in 18
           U.S.C. § 3142(g) as stated on the record in open court at the detention hearing.

                               DIRECTIONS REGARDING DETENTION
          The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from
 Case 1:20-cr-10052-STA Document 223 Filed 10/26/20 Page 2 of 2                   PageID 382

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a Court of the United States or on request of an attorney for the government, the

person in charge of the corrections facility shall deliver the Defendant to the United States

marshal for the purpose of an appearance in connection with a Court proceeding.



Date: October 26, 2020                            s/ Jon A. York
                                                  UNITED STATES MAGISTRATE JUDGE
